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 6   Attorney for Defendant
 7   NARCO MCFARLAND SR
 8                 IN THE UNITED STATES OF DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,
                                                   CR.S. No. 2:12-CR-00169 MCE
12           Plaintiff,
13                                                    STIPULATION AND ORDER FOR
                     v.                               TEMPORARY RELEASE TO ATTEND
14                                                    FUNERAL SERVICES
15   NARCO MCFARLAND, SR.,
16          Defendant.
17
18          Defendant NARCO MCFARLAND, Sr. by and through his counsel, DAVID D.
19   FISCHER, and the United States Government, by and through its counsel, JASON
20   HITT, Assistant United States Attorney, hereby stipulate to the following:
21          It has been agreed by all parties for a temporary release of Mr. MCFARLAND
22   from Tuesday, November 26, 2013, at 8:30 a.m. to 5:30 p.m. to attend the funeral of his
23   uncle, GREGORY MCLEOD.            Mr. MCFARLAND is currently in custody at the
24   Sacramento County Jail awaiting resolution of the above case; the matter is next
25   scheduled for May 1, 2014, for Trial Confirmation Hearing.
26          Mr. MCLEOD passed away on November 9, 2013. The funeral is scheduled for
27   November 26, 2013, at the Wiggins Funeral Home, located at 524 Capitol St, Vallejo,
28   California.



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 1          The government does not oppose this request so long as Mr. MCFARLAND is
 2   accompanied during the entire period of his temporary release by an investigator.
 3   Therefore, attorney DAVID FISCHER, has arranged for investigator JEFFREY J.
 4   WELLS, to accompany Mr. MCFARLAND to the funeral.
 5          Pursuant to discussions with the U.S. Marshal’s Office and the Sacramento
 6   County Main Jail, Mr. WELLS will pick up Mr. MCFARLAND at the Sacramento
 7   County Main Jail, transport him to the funeral service, and return him to Sacramento
 8   County Main Jail immediately after the funeral service. Mr. MCFARLAND will remain
 9   in the custody of Mr. WELLS the entire time of his release. Mr. WELLS will keep strict
10   control over Mr. MCFARLAND at all times.
11          For the above reasons, Defendant NARCO MCFARLAND, SR., respectfully
12   requests that the Court allow this temporary release.
13
14   DATE: November 20, 2013                                 /s/ David D. Fischer
                                                             DAVID D. FISCHER
15
                                                             Attorney for Defendant
16                                                           NARCO MCFARLAND, SR
17
     DATE: November 20, 2013                                 /s/ Jason Hitt
18                                                           JASON HITT
19                                                           Assistant U.S. Attorney
20
21
            IT IS SO ORDERED
22
23
     Dated: November 21, 2013
24
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